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                            UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF MICHIGAN
                                 SOUTHERN DIVISION


UNITED STATES OF AMERICA,

                Plaintiff,
                                                            CASE No. 1:21-cr-40
v.
                                                            HON. ROBERT J. JONKER
CHRISTOPHER ALLAN BODEN,

                Defendant.


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                                            ORDER

         Defendant has filed a motion for compassionate release under the First Step Act. (ECF

Nos. 111, 112). The basis of the motion is the COVID-19 pandemic combined with family

circumstances that, Defendant says, amount to extraordinary and compelling reasons for

compassionate release. The Bureau of Prisons’ website reflects that Defendant was released from

custody on October 6, 2023. Thus, the motion—that requests the Court order Defendant’s release

from the federal corrections facility where he was confined at the time he filed the motion—is now

moot.

         ACCORDINGLY, IT IS ORDERED that Defendant’s Motion for Compassionate

Release (ECF No. 111) is DISMISSED AS MOOT.




Dated:        April 18, 2024                  /s/ Robert J. Jonker
                                             ROBERT J. JONKER
                                             UNITED STATES DISTRICT JUDGE
